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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

OSCAR VELIZ and JOSE MEJIA
On behalf of themselves and other
Persons similarly situated

CIVIL ACTION NO.: 15-06339
Plaintiffs,
JUDGE: Lance M. Africk
MAG. JUDGE: Sally Shushan
RIMAX CONTRACTORS, Inc.
And RICARDO ARBELAEZ

Defendants.

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ORDER

Plaintiffs, Oscar Veliz and Jose Mejia, along with Defendant, Rimax Contractors, Inc.,
have filed a Joint Motion to File Confidential Settlement Agreement and Release of Claims
Under Seal. Having considered the motion,

IT IS HEREBY ORDERED that the motion is GRANTED, and the Confidential
Settlement Agreement and Release of Claims shall be filed under seal.

IT IS FURTHER ORDERED that the Confidential Settlement Agreement and Release
of Claims remain sealed until this action is administratively closed, at which time it is to be
promptly retumed to counsel of record for Rimax Contractors, Inc.

New Orleans, Louisiana, this __ day of , 2016.

 

JUDGE LANCE M. AFRICK

 
